











Opinion issued June 8, 2006

















In The
Court of Appeals
For The
First District of Texas




NO. 01-05-00727-CR




DENNIS JOE PHARRIS, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 351st District Court
Harris County, Texas
Trial Court Cause No. 1031225




O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After a writ of habeas corpus hearing, the trial court set bail for appellant,
Dennis Joe Pharris, at $2.5 million.  This amount was later reduced to $1,000,000. 
Appellant’s sole issue on appeal is that article 17.151 of the Code of Criminal
Procedure


 compels this cCourt to order that appellant be released on a personal bond,
or, alternatively, that bond should be set at no more than $500,000.  For the reasons
that follow, we reverse the trial court’s order and render judgment that bail be set at
$500,000.
BACKGROUND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The facts of this case involve a number of financial transactions over the course
of the past two years.  We initially note that the Court of Criminal Appeals heard a
direct appeal from the trial court regarding a claim made by appellant under Article
1, section 11a of the Texas Constitution.


  Because the facts, as relayed by the Court
of Criminal Appeals, form the first half of the factual backdrop of this appeal, we willrely
heavily on the facts as recited in that opinion to tell that portion of the facts.  On June 17, 2004, the State indicted Mr. Pharris for the felony offense
of forgery of a United States government instrument (Cause No.
991356).  Bond was originally set at $10,000 and later increased to
$100,000.  Mr. Pharris made bail and was released on June 27, 2004.

Pharris v. State, 165 S.W.3d 681, 683 (Tex. Crim. App. 2005).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 15, 2004, the State filed a second criminal complaint stating that
appellant had engaged in “organized criminal activity” with various people to commit
theft of a local bank of more than $200,000.  Id.  “This complaint contained an
enhancement paragraph alleging that Pharris had been convicted in 1993 of wire
fraud in a Texas federal district court.”  Id.  “After a hearing on December 21, 2004,
the trial court denied bail in this second case because the State had alleged that this
offense was committed while Pharris was on bond for the first case, the forgery
charge.”


  Id.  After the December 21 hearing,this hearing, the trial court denied bail on the first
charge and set bail at $100,000 on the second charge.  Id. at 684.  However, later that
same afternoon (December 21, 2004), the State filed a third charge against appellant
for theft of money from yet another bank.  Id.  Another bond hearing was set for
February 18, 2005.  Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;“Based upon this evidence, the trial judge once again denied bail.”  Id.  “The
defense attorney argued, ‘It should be obvious to the court what’s happening here is
the prosecution is trying to serially file the cases in order to prevent bail.  And that
defeats the purpose [for which] Article One, Section 11(a) was written.’”  Id. at 685. 
On February 21, 2005, the trial court signed the order to hold Mr. Pharris at ‘no bond’
for another sixty days.  “Pharris filed a notice of appeal [in the Court of Criminal
Appeals] that day.”  Id. at 686.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On June 22, 2005, the Court of Criminal Appeals released its opinion in
Pharris.  Id. at 681.  However, two days before that, the State filed a complaint
combining all the previous charges into one comprehensive case.  The trial court set
bail at $10,000,000.  A writ of habeas corpus hearing was held on July 15th, at which
two Harris County bail bondsmen testified.  One testified that, after preliminary
research, he would post bail for appellant, at a maximum, for $100,000–$125,000; the
other testified that he performed extensive research and would post bail for appellant
up to a maximum of $500,000.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The second bail bondsman, David Schmidt, testified that he: (1) investigated
judgments against appellant and his family; (2) researched what was in the Pharris
Family Trust; (3) had discussions with appellant’s family attorney, Steve Smith, as
to certain property owned by appellant or appellant’s family that could be used to
secure a bond; (4) stated that he would not proceed if he did not have assurances that
the title was clear from encumbrances; (5) stated that he could obtain a title policy on
some property “that was related to [appellant’s deceased father]”; (6) researched the
value of that property; and (7) discussed with some bankers, who had knowledge of
the area where the property is located, what amount the property could be foreclosed
for if he needed to sell the land. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record also reflects that appellant is in involuntary bankruptcy and made
bond in a fraud case from 1993 brought by federal prosecutors.  After the hearing, the
trial court reset appellant’s bail at $2.5 million.  On September 29, 2005, 100 days
after the State filed a charge of engaging in organized criminal activity that combined
all the previous charges into one, the State obtained an indictment on that charge.  In
October, the trial court reduced appellant’s bail to $1,000,000 in the current case.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;  DISCUSSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s sole issue for review is whether he should be released on personal
bond under article 17.151 of the Code of Criminal Procedure, or, alternatively, that
this court determine what the correct bail amount should be under this same article
of the Code.


 See Tex. Code Crim. Proc. Ann. art 17.151 (Vernon 2003).  However,
as a preliminary matter, the State makes a number of arguments concerning the
jurisdiction of this Court.  Therefore, we analyze these arguments first.
Jurisdiction
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Initially, the State argues that this appeal should be dismissed as moot because,
after the appeal was filed, the trial court issued an order on October 11 reducing the
bail amount from $2,500,000 to $1,000,000 and the appellant did not file a notice of
appeal regarding this order.  Accordingly, the State argues that we lack jurisdiction
to hear this appeal.  We disagree.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, appellant filed a document with the court that was sufficient to
constitute a notice of appeal regarding the trial court’s October 11, 2005 order. 
Where an appellant has timely filed a document with the trial court that demonstrates
his desire to appeal, that document should be construed as a notice of appeal.  Tex.
R. App. Proc. 25.2(c)(2) (“notice is sufficient if it shows the party’s desire to appeal
from the judgment or other appealable order”); see also Jones v. State, 98 S.W.3d
700, 703 (Tex. Crim. App. 2003) (holding that “contemporaneous presentation of the
pro se notice with a motion to withdraw by trial counsel” was sufficient to serve as
notice of appeal); Miles v. State, 842 S.W.2d 278, 279 n. 1  (Tex. Crim. App. 1989)
(written appeal bond showed desire of defendant to appeal and was sufficient to
constitute notice of appeal); Palma v. State, 76 S.W.3d 638, 641–42 (Tex.
App.—Corpus Christi 2006, no pet.) (holding that letter from appellant asking court
whether he had been appointed appellate attorney demonstrated defendant’s desire
to appeal and was sufficient to serve as notice of appeal); Cooper v. State, 917
S.W.2d 474, 477 (Tex. App.—Fort Worth 1996, pet. ref’d) (concluding that request
filed by defendant for free record constituted demonstration of desire to appeal and
was sufficient to serve as notice of appeal); Buchanan v. State, 881 S.W.2d 376, 378
(Tex. App.—Houston [1st Dist.] 1994), rev’d on other grounds, 911 S.W.2d 11 (Tex.
Crim. App. 1995) (holding motion to obtain clerk’s and reporter’s record was enough
to demonstrate desire to appeal and was sufficient to serve as notice of appeal);
Massey v. State, 759 S.W.2d 18, 19 (Tex. App.—Texarkana 1988, no pet.)
(concluding that written request for copy of record and appointment of appellate
counsel was enough to demonstrate desire to appeal).  Cf. Ashorn v. State, 77 S.W.3d
405, 408 (Tex. App.—Houston [1st Dist.] 2002, no pet.) (stating that filing of appeal
bond by itself was not enough to demonstrate desire to appeal).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, appellant’s “Motion to Supplement Record on Appeal” clearly
evinces a desire to appeal and acts as a sufficient notice of appeal.  After the trial
court set bail at $1,000,000 on October 11—an amount considerably higher than
appellant had requested—appellant filed a “Motion to Supplement Record on
Appeal” in the trial court noting the trial court’s reduction, but stating that he would
“like to supplement record on appeal” and show that “1,000,000 is tantamount to no
bail.”  Appellant’s motion also specifically requested that the trial court’s order
setting bail be made part of the appellate record in this case. Therefore, we reject the
State’s argument that this appeal is moot because a second notice of appeal was not
filed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State also argues that because appellant has been indicted in this case,
article 17.151 ceases to apply, thereby rendering his appeal moot.  The State cites no
authority for this proposition, and, in fact, the Court of Criminal Appeals has held that
article 17.151 requires the State to be ready within 90 days of defendant’s “arrest”



or he (1) must be released on personal bond or (2) have bail reduced.  Jones v. State,
803 S.W.2d 712, 717 (Tex. Crim. App. 1991); see also Kernanhan v. State, 657
S.W.2d 433, 434 (Tex. Crim. App. 1983) (holding that the terms of article 17.151 are
mandatory).  The State at no point claims that it was ready within 90 days.  Therefore,
we reject this argument as well.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The last of the State’s preliminary arguments is that appellant has not preserved
error because he did not rely on article 17.151 at trial.  Again, we reject the State’s
argument: as appellant quite rightly points out, it was the failure of the State to indict
him within 90 days that invoked article 17.151.  Moreover, appellant’s habeas corpus
hearing occurred on July 15, 2005—at this point, the 90-day limit had not elapsed so
the argument was not colorable at that juncture.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We decline to hold that this case is moot.  Rather, we find that we have
jurisdiction over this appeal.  We turn, therefore, to the merits.
Article 17.151
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Article 17.151 of the Code of Criminal Procedure  provides in the relevant part:
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Art. 17.151. Release because of delay
Sec. 1.  A defendant who is detained in jail pending trial of an
accusation against him must be released either on personal bond
or by reducing the amount of bail required, if the state is not ready
for trial of the criminal action for which he is being detained
within:
&nbsp;
(1) 90 days from the commencement of his detention if he
is accused of a felony.

Tex. Code Crim. Proc. Ann. art. 17.151 (Vernon 2005).  Appellant’s central issue
is whether article 17.151 compels this Court to order that appellant be released on
personal bond or have his bail amount reduced.  The heart of the State’s
argument—that if one has not attempted to make bail, no relief is available even if the
time limit set out in article 17.151 has expired—relies on a Texarkana Court of
Appeals case.  See Smith v. State, 161 S.W.3d 191 (Tex. App.—Texarkana 2005, orig.
proceeding).  The State urges us to follow the Smith Court’s lead.  There, the court
rejected the appellant’s request for reduced bail because appellant had not previously
attempted to make the bail amount set for him.  Id. at 193.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State’s argument is without merit.  Section 17.151 is mandatory.  See Rowe
v. State, 853 S.W.2d 581, 583 (Tex. Crim. App. 1993).  If the State is not ready for
trial within 90 days after commencement of detention for a felony, the trial court has
two options: to release the defendant upon personal bond or to reduce the amount of
bail.  See id. at 583; see also Tex. Code Crim. Proc. Ann. art 17.151.  Moreover, the
trial court “must reduce bail to an amount that the record reflects the accused can
make in order to effectuate release.”  Id. at 582 n.1 (second emphasis added).  Rowe
has not been modified in any way by the Court of Criminal Appeals, and other
intermediate appellate courts have noted that Rowe controls this question.  See Ex
Parte Ancira, 942 S.W.2d 46, 47 (Tex. App.—Houston [14th Dist.] 1997, no writ);
see also Ex Parte Tellez, No. 04-04-00897-CR, 2005 WL 1277660, at *1 (Tex.
App.—San Antonio Jun. 1, 2005, orig. proceeding) (not designated for publication). 
Therefore, we reject the State’s argument.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we must set bail at an amount appellant can make, we look to the
evidence in the record.  See Rowe, 853 S.W.2d at 582 n.1.  The bail bondsman who
performed extensive research into appellant’s finances testified that he would post a
bail bond for appellant up to a maximum of $500,000.  We take this to be evidence
of a bond amount appellant could produce; indeed, appellant requested this amount
of bail.  We hold that the trial court erred in not following Rowe’s dictates that it must
set bail at an amount appellant can make.  The evidence shows that the appellant can
make bond in the amount of $500,000.  
CONCLUSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We reverse the trial court’s order setting bail at $1,000,000 and render
judgment that bail be set at $500,000.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sam Nuchia
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Panel consists of Justices Nuchia, Keyes, and Hanks.

Justice Keyes concurring.

Publish.  Tex. R. App. P. 47.2(b).




